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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                         Plaintiff,                                         8:25CR35

         vs.
                                                                                 ORDER
NICOLAS BARTOLO RAMIREZ,

                         Defendant.


        The court has been presented a Financial Affidavit (CJA Form 23) signed by the above-named
defendant in support of a request for appointed counsel. After a review of the Financial Affidavit, I
find that the above-named defendant is eligible for appointment of counsel pursuant to the Criminal
Justice Act, 18 U.S.C. §3006A, and Amended Criminal Justice Act Plan for the District of Nebraska.


        IT IS ORDERED:


        The Federal Public Defender for the District of Nebraska is appointed to represent the above
named defendant in this matter. In the event that the Federal Public Defender accepts this appointment,
the Federal Public Defender shall forthwith file an appearance in this matter. In the event the Federal
Public Defender should decline this appointment for reason of conflict or on the basis of the Criminal
Justice Act Plan, the Federal Public Defender shall forthwith provide the court with a draft appointment
order (CJA Form 20) bearing the name and other identifying information of the CJA Panel attorney
identified in accordance with the Criminal Justice Act Plan for this district.


        IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the Federal
Public Defender for the District of Nebraska.

        DATED this 24th day of February, 2025.

                                                         BY THE COURT:

                                                         s/ Michael D. Nelson
                                                         United States Magistrate Judge
